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                   IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

GRANT BIRCHMEIER, STEPHEN PARKES,
and REGINA STONE, on behalf of themselves                Case No. 1:12-cv-04069
and a class of others similarly situated,

Plaintiffs,                                              Honorable Matthew F. Kennelly

          v.

CARIBBEAN CRUISE LINE, INC., ECONOMIC
STRATEGY GROUP, ECONOMIC STRATEGY
GROUP, INC., ECONOMIC STRATEGY, LLC,
THE BERKLEY GROUP, INC., and VACATION
OWNERSHIP MARKETING TOURS, INC.,

Defendants.




       PLAINTIFFS’ UNOPPOSED MOTION FOR ORDER COMPELLING SPRINT PCS
                 TO PRODUCE CALIFORNIA SUBSCRIBER RECORDS

          Plaintiffs Grant Birchmeier, Stephen Parkes, and Regina Stone (collectively the “Plaintiffs”),

by and through Class Counsel, hereby submit this unopposed Motion requesting that the Court

enter an order requiring non-party Sprint PCS (“Sprint”) to produce the name and address

information of its California subscribers in response to Plaintiffs’ October 30, 2014 Subpoena. In

support of the instant Motion, Plaintiffs state as follows:

          1.     On August 18, 2014, the Court entered an order certifying two Classes—a landline

Class and cellular telephone Class—consisting of “All persons in the United States to whom 1) one

or more telephone calls made by, on behalf of, or for the benefit of the Defendants, (2) purportedly

offering a free cruise in exchange for taking an automated public opinion and/or political survey, (3)

which delivered a message using a prerecorded or artificial voice, (4) between August 2011 and

August 2012, (5) and your (i) telephone number appears in Defendants’ records of those calls

and/or the records of their third party telephone carriers or the third party telephone carriers of


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their call centers or (ii) your own records prove that you received the calls – such as your telephone

records, bills, and/or recordings of the calls – and you submit an affidavit or claim form if necessary

to describe the content of the call.” (Dkt. 241 at 31.)

                 2.               Thereafter, Plaintiffs proposed a Notice Plan in which they would endeavor, inter

alia, to obtain the names and addresses of Class members whose telephone numbers appeared in

Defendants’ records by serving subpoenas on certain wireless telephone carriers. (Dkt. 247.)

                 3.               As part of these efforts, on October 30, 2014, Plaintiffs’ Counsel issued a subpoena

to Sprint requesting such information for the 44,194 numbers (the “Subpoena”) on Defendants list

identified by Neustar, Inc. as belonging to Sprint. (A true and accurate copy of Plaintiffs’ October

30, 2014 Subpoena to Sprint is attached hereto as Exhibit A.)

                 4.               Sprint produced the subscriber information for each of the requested telephone

numbers, with the exception of the subscriber information for individuals who resided in California.

Sprint withheld subscriber information for California residents based on California Public Utility

Code § 2891 and California Rule of Civil Procedure § 1985.3, and stated that a Court order or

customer consent would be required for those records.1 (See December 5, 2014 Email from Ms. Cali

Keep, a true and accurate copy of which is attached hereto as Exhibit B.)

                 5.               Sprint subsequently agreed not to oppose Plaintiffs’ request for a Court order

directing Sprint to produce the California records. (See December 5-17, 2014 Email Chain between

Plaintiffs’ Counsel and Counsel for Sprint a true and accurate copy of which is attached hereto as

Exhibit C.)



	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1	  	                                               Given that Sprint has agreed to produce records of its California subscribers whose numbers
appear in Plaintiffs’ Subpoena so long as an order is entered, Counsel for Plaintiffs take no position
as to whether the above-mentioned rules require Sprint to obtain consent from their California
subscribers before producing the requested records, and reserve their right to argue that such
consent is not necessary if other carriers withhold records based on the same statute.


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                          6.                        As such, and as discussed with the Court during the recent December 11, 2014

Status Hearing, Plaintiffs now request that the Court enter an order requiring Sprint to comply with

Plaintiff’s Subpoena by instructing Sprint to produce the names and last known home and email

address(es) for the subscriber numbers identified by Neustar as being owned and operated by Sprint

on the date those numbers received the calls at issue in this case.2

                          7.                        Counsel for Plaintiffs have conferred with Defendants and representatives for non-

party Sprint, all of whom have indicated that they do not oppose Plaintiffs’ request for such an

order.

                          8.                        WHEREFORE, Plaintiffs respectfully request that the Court enter an order

instructing Sprint to comply with their October 30, 2014 Subpoena by producing the remaining

names and last known home and email address(es) for the California subscribers whose numbers

received the calls at issue in this case on the dates identified in Plaintiffs’ Subpoena.

Date: December 17, 2014                                                                                                                                                                By: /s/ Eve-Lynn J. Rapp


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                                                           Class Counsel                                                                                                                                                    Class Counsel




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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                                                      A [proposed] agreed order is attached hereto as Exhibit D.


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                                     Counsel for Stone




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                                  CERTIFICATE OF SERVICE

         I, Eve-Lynn J. Rapp, an attorney, hereby certify that on December 17, 2014, I served the
above and foregoing Plaintiffs’ Unopposed Motion for Order Compelling Sprint PCS to Produce California
Subscriber Records by causing a true and accurate copy of such paper to be transmitted to all counsel
of record via electronic mail, on this the 17th of December, 2014.

                                                                        /s/ Eve-Lynn J. Rapp




	  
